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        EXHIBIT 25
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                  Donald J. Trump
                  @realDonaldTrump

    Today, President Donald J. Trump and Willkie Farr & Gallagher LLP (“Willkie”)
    announce the following agreement regarding a series of actions to be taken by
    Willkie:

    1. Willkie will provide a total of at least $100 Million Dollars in pro bono Legal
    Services, during the Trump Administration, and beyond, to causes that President
    Trump and Willkie both support, in relation to the following areas: Assisting
    Veterans and other Public Servants including, among others, members of the
    Military, Gold Star families, Law Enforcement, and First Responders; Ensuring
    fairness in our Justice System; and Combatting Antisemitism. Willkie’s pro bono
    Committee will ensure that new pro bono matters are consistent with these
    objectives, and that pro bono activities represent the full political spectrum,
    including Conservative ideals.

    2. Willkie affirms its commitment to Merit-Based Hiring, Promotion, and Retention.
    Accordingly, the Firm will not engage in illegal DEI discrimination and preferences.
    Willkie affirms that it is Willkie’s policy to give Fair and Equal consideration to Job
    Candidates, irrespective of their political beliefs, including Candidates who have
    served in the Trump Administration, and any other Republican or Democrat
    Administration. Willkie will engage independent outside counsel to advise the Firm
    in confirming that employment practices are fully compliant with Law, including, but
    not limited to, anti-discrimination Laws.

    3. Willkie affirms that it will not deny representation to clients, such as members of
    politically disenfranchised groups and Government Officials, employees, and
    advisors, who have not historically received Legal representation from major
    National Law Firms, including in pro bono matters and in support of non-profits,
    because of the personal political views of individual lawyers.

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    Statement from the White House: “Willkie Farr & Gallagher LLP proactively reached
    out to President Trump and his Administration, offering their decisive commitment
    to ending the Weaponization of the Justice System and the Legal Profession. The
    President is delivering on his promises of eradicating Partisan Lawfare in America,
    and restoring Liberty and Justice FOR ALL.”

    Statement from Thomas M. Cerabino, Chairman of Willkie Farr & Gallagher LLP:
    "We reached an agreement with President Trump and his Administration on matters
    of great importance to our Firm. The substance of that agreement is consistent
    with our Firm’s views on access to Legal representation by clients, including pro
    bono clients, our commitment to complying with the Law as it relates to our
    employment practices, and our history of working with clients across a wide
    spectrum of political viewpoints. The Firm looks forward to having a constructive
    relationship with the Trump Administration, and remains committed to serving the
    needs of our clients, our employees, and the communities of which we are a part.”
    4.32k ReTruths 18.7k Likes                                                                          Apr 01, 2025, 1:47 PM




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